     Case 06-90460-JM        Filed 07/20/07   Entered 07/20/07 09:06:00      Doc 17   Pg. 1 of 4



 1   JUDITH A. DESCALSO ID#103211
 2
     Attorney at Law
     960 Canterbury Pl., Ste. 340
 3   Escondido, CA 92025
     Phone: (760) 745-8380
 4
     Fax: (760) 860-9800
 5

 6   Attorney for Debtor/Defendant
     NAOMI DYE-CHEN
 7
                              UNITED STATES BANKRUPTCY COURT
 8

 9                            SOUTHERN DISTRICT OF CALIFORNIA

10
     In re                              )              Case No. 06-2200-M7
11
                                        )
12        NAOMI DYE-CHEN ,              )              ADV. No. 06-90460-JM
                                        )
13                                      )              ANSWER TO FIRST AMENDED
                                        )              COMPLAINT TO DETERMINE
14
                                        )              DISCHARGEABILITY OF DEBT
15                      Debtor(s)       )
     ___________________________________)
16   SCOTT M. FOREMAN,                  )
                                        )
17
                Plaintiff,              )
18   v.                                 )
                                        )
19   NAOMI CHEN,                        )
20
                                        )
                Defendant.              )
21   ___________________________________)
22           COMES NOW, NAOMI DYE-CHEN (aka NAOMI CHEN) and answers the First
23
     Amended Complaint (the Complaint) filed herein for herself only.
24
             1. Defendant ADMITS the allegations of paragraph 1 of the Complaint.
25

26           2. Defendant ADMITS the allegations of paragraph 2 of the Complaint

27           3. Defendant ADMITS the allegations of paragraph 3 of the Complaint.
28
             4. Defendant ADMITS the allegations of paragraph 4 of the Complaint.



                                                   1
     Case 06-90460-JM           Filed 07/20/07     Entered 07/20/07 09:06:00       Doc 17     Pg. 2 of 4



 1             5. Defendant ADMITS the allegations of Paragraph 5 of the Complaint.
 2
               6. Defendant ADMITS the allegations of paragraph 6 of the Complaint.
 3
               7. Defendant ADMITS the allegations of paragraph 7 of the Complaint.
 4

 5                                          FIRST CLAIM FOR RELIEF
                                               11 U.S.C. §523(a)(2)(A)
 6
               8. Defendant realleges her responses to Paragraph 1 through 7 as though fully set forth
 7

 8   herein.

 9             9. Defendant ADMITS that, based on information received from a third party, she
10
     represented that Plaintiff’s funds would be invested in real estate that was in foreclosure to be
11
     resold at a profit and that Plaintiff could have his money returned within ten business days.
12
     Defendant DENIES each and every other allegation of Paragraph 9 of the Complaint, in
13

14   particular any allegations of a pre-existing, long-time friendship with Plaintiff.

15             10. Defendant DENIES the allegations of Paragraph 10 of the Complaint.
16
               11. Defendant DENIES the allegations of Paragraph 11 of the Complaint.
17
               12. Defendant lacks sufficient information to admit or deny the Plaintiff’s reason for
18

19
     investing and based on that lack of information Defendant DENIES those allegations of

20   paragraph 12 of the Complaint. Defendant ADMITS that Plaintiff invested the sums set forth in
21   sub-paragraphs A and B of paragraph 12 of the Complaint. Defendant denies each and every
22
     other allegation set forth in Paragraph 12 of the Complaint. No Agreements are attached to the
23
     amended complaint.
24

25             13. Defendant lacks sufficient information or belief to answer the allegations of

26   Paragraph 13 of the Complaint and based on this lack of information DENIES each and every
27
     allegation of Paragraph 13 of the Complaint.
28
               14. Defendant ADMITS the allegations of paragraph 14 of the Complaint.



                                                        2
     Case 06-90460-JM          Filed 07/20/07     Entered 07/20/07 09:06:00         Doc 17      Pg. 3 of 4



 1             15. Defendant DENIES the allegations of Paragraph 15 of the Complaint.
 2
               16. Defendant DENIES the allegations of Paragraph 16 of the Complaint.
 3
               17. Defendant DENIES the allegations of Paragraph 17 of the Complaint.
 4

 5             18. Defendant DENIES the allegations of Paragraph 18 of the Complaint.

 6                                        SECOND CLAIM FOR RELIEF
                                              11 U.S.C. §523(a)(6)
 7

 8             19. Defendant realleges her responses to Paragraph 1 through 18 as though fully set forth

 9   herein.
10
               20. Defendant DENIES the allegations of Paragraph 20 of the Complaint.
11
               21. Defendant DENIES the allegations of Paragraph 21 of the Complaint.
12
               22. Defendant DENIES the allegations of Paragraph 22 of the Complaint.
13

14                                         THIRD CLAIM FOR RELIEF
                                               11 U.S.C. §523(a)(4)
15
               23. Defendant realleges her responses to Paragraph 1 through 22 as though fully set forth
16

17   herein.

18             24. Defendant DENIES the allegations of Paragraph 24 of the Complaint.
19
               25. Defendant DENIES the allegations of Paragraph 25 of the Complaint.
20
               26. Defendant DENIES the allegations of Paragraph 26 of the Complaint.
21

22
               27. Defendant DENIES the allegations of Paragraph 27 of the Complaint.

23                                      FIRST AFFIRMATIVE DEFENSE
24
           Plaintiff’s Complaint fails to set forth facts sufficient to state a cause of action against
25
     Defendant.
26

27

28




                                                       3
     Case 06-90460-JM         Filed 07/20/07    Entered 07/20/07 09:06:00         Doc 17     Pg. 4 of 4



 1                                   SECOND AFFIRMATIVE DEFENSE
 2
          Plaintiff is barred from proceeding against Defendant on the ground of estoppel.
 3
                                     THIRD AFFIRMATIVE DEFENSE
 4

 5        Plaintiff has failed to mitigate his damages, if any, that are alleged to have been caused by

 6   Defendant.
 7
            WHEREFORE, Defendant prays for judgment as follows:
 8
            1. For judgment in favor of Defendant.
 9
            2. That Plaintiff take nothing by his complaint
10

11          3. That Defendant be granted such other and further relief as this court may deem just

12   and proper, including all fees and costs incurred in these proceedings.
13
     Dated: July 19, 2007                         /s/ Judith A. Descalso
14                                                Judith A. Descalso
                                                  Attorney for Defendant
15                                                NAOMI DYE-CHEN
16

17

18

19

20

21

22

23

24

25

26

27

28




                                                     4
